            Case 1:19-cr-00366-LGS Document 172 Filed 02/24/21 Page 1 of 14



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :   19 Crim. 366 (LGS)
                           -against-                           :
                                                               :        ORDER
STEPHEN M. CALK,                                               :
                                             Defendant.        :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

          WHEREAS, on February 22, 2021, Mr. Randall Rigby sent the e-mail attached as Exhibit A

to the Court, in anticipation of his motion to modify or quash a grand jury subpoena on the ground

that travel from Chicago, Illinois, to New York City, New York, would be unduly burdensome in

the midst of the COVID-19 pandemic. The e-mail includes as attachments a pre-motion letter and a

copy of the anticipated motion to modify or quash, attached as Exhibits B and C respectively.

          WHEREAS, on February 22, 2021, Defendant filed a letter requesting to be heard on Mr.

Rigby’s anticipated motion to modify or quash (Dkt. No. 168), and on February 22, 2021, the

Government filed a responsive letter, stating that it consents to taking Mr. Rigby’s testimony by

video (Dkt. No. 169). It is hereby

          ORDERED that, Mr. Rigby’s pre-motion submission is construed as a motion to modify or

quash a grand jury subpoena, and such motion is DENIED as moot in light of the Government’s

consent to remote video testimony. Mr. Rigby, who is listed on the docket as an interested party, is

reminded that any future submissions should be filed via ECF and that, pursuant to Rule B.2 of my

Individual Rules for Criminal Cases, he should e-mail Chambers only if directed to do so. It is

further

          ORDERED that, Defendant’s request to be heard on Mr. Rigby’s motion to modify or

quash is DENIED as moot. It is further

          ORDERED that, by May 19, 2021, Defendant shall submit any motion in limine regarding
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any evidence Defendant believes to have been obtained improperly through the enforcement of Mr.

Rigby’s grand jury subpoena, and by June 2, 2021, the Government shall file any response.

       The Clerk of Court is respectfully directed to close the motion at Docket No. 168.


Dated: February 24, 2021
       New York, New York




                                                 2
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                                                      y,//d
From:          Terence Campbell
To:            Schofield NYSD Chambers
Cc:            Monteleoni, Paul (USANYS); Jeremy Margolis
Subject:       U.S. v. Stephen Calk, Case No. 19 CR 366 - Third-party Subpeonaed Witness Request to file Motion
Date:          Monday, February 22, 2021 10:09:00 AM
Attachments:   Rigby - Letter to J. Schofield.2.22.21.pdf
               Rigby - Motion to Quash or Modify.2.21.21.pdf
               Rigby - Notice of Motion to Quash.2.21.21.pdf


CAUTION - EXTERNAL:


Dear Judge Schofield:

        I am an attorney representing a third-party subpoenaed witness, Mr.
Randall Rigby, in United States v. Stephen Calk, Case No. 19 CR 366. Mr. Rigby
has voluntarily accepted trial subpoenas from the Government each time a trial
date has been set, including for the currently-scheduled June trial. A week ago,
Mr. Rigby – who is 75 years old, lives in Chicago, and has not traveled since the
outbreak of the COVID pandemic – received a Grand Jury subpoena from the
Government to testify in New York City on this case. I have been attempting to
file a Motion seeking to modify or quash that subpoena, but was told this
morning that I need to send a letter to the Court requesting that Mr. Rigby be
added to the docket as an interested party so we may file our motion. (I will
also be filing a pro hac vice request, assuming the Court is amenable.)

       I have attached a copy of the Motion and Notice of Motion I wish to file
with the Court on behalf of Mr. Rigby which lays out our position and
requested relief, and respectfully request that Mr. Rigby be added to the
docket and we be permitted to file this and have the issues raised therein
addressed by the Court.

      I notified the Government of my intent to file this motion last Friday, and
have cc’d all counsel on this request.

      Thank you for your consideration of this request. If you need any further
information, you may reach me at this email address, or by phone – 312-263-
0345. Thanks again.
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- Terry Campbell
Cotsirilos, Tighe, Streicker, Poulos & Campbell
33 N. Dearborn, Suite 600
Chicago, IL 60602
(312) 263-0345
VISIT OUR WEBSITE at www.cotsiriloslaw.com
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The preceding e-mail message (including any attachments) contains information that may be confidential, be
protected by the attorney-client or other applicable privileges, or constitute non-public information. It is meant only
for the intended recipient(s) only. If you are not an intended recipient of this message, please notify the sender by
replying to this message and then delete it from your system. Thank you.
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CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
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!@&750GKAB3AB7;=<G034=@3B63@/<2C@G1=C:203B/93<@3;=B3:G

          (=2/G 30@C/@G         B63 =D3@<;3<B A3@D32 /<=B63@ @/<2 C@G AC0>=3</ =<

1=C<A3:1/::7<54=@!@&750GB=/>>3/@034=@3B63@/<2C@G7<"3E,=@97BG=<30@C/@G            

       +67:37B7A1=C<A3:KAC<23@AB/<27<5B63=D3@<;3<BE7::/5@33B=/<3E2/B3/A3F>:/7<32

03:=EB6/B7A<=B>=AA70:357D3<B63#*@3AB@71B7=<A7;>=A320G"3E,=@9/CB6=@7B73A/<2

;=@37;>=@B/<B:GB@/D3:B="3E,=@90GB67AB67@2>/@BGE7B<3AAC<23@B631C@@3<B17@1C;AB/<13A

E=C:203C<2C:G0C@23<A=;3




7D3<B63AB/B3=4B63#*3>723;717<1:C27<5B@/D3:/<2?C/@/<B7<3@3AB@71B7=<A7B7A!@


&750GKA6=>3B6/B74637A1/::32B=B3AB74G/BB@7/:631/<2=A=@3;=B3:G@/B63@B6/<B@/D3:B=
"3E,=@97BGB=2=A=

                                                      
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                "+/%,"'"(.-

        AB63=C@B7AE3::/E/@3B63#*>/<23;717AA3@7=CA/<2=<5=7<5/<2<3E;=@3

1=<B/57=CA /<2 >=B3<B7/::G ;=@3 D7@C:3<B AB@/7<A 6/D3 @313<B:G 3;3@532 11=@27<5 B= B63 )'

3<B3@A4=@7A3/A3=<B@=:/<2$@3D3<B7=<B63IJ;=@3B6/< ;7::7=<;3@71/<A6/D3

033< 7<431B32 /<2 =D3@  6/D3 2732 7< B63 >/AB G3/@ 4@=;#*   #( (('

       ''# (',((                  (& &    

   :/ABD7A7B3230@C/@G             #:23@7<27D72C/:A/@3;=@3

ACA13>B70:3B=6/@A61=<A3?C3<13A4@=;B63D7@CA

        (@/D3:7A/9<=E<@7A94/1B=@4=@#* /<2B63/<2D/@7=CAAB/B3A/::@31=;;3<2

/5/7<AB7B(63@C:3A4=@7<27D72C/:A3<B3@7<5"3E,=@9:793!=D/<B&750G/@33AB/0:7A6320G

F31CB7D3#@23@   /<20G5C72/<137AAC320GB63"3E,=@93>/@B;3<B=43/:B6 #(&"

 )#      &*!     *'$&,     ",     3>B      =4    3/:B6     "=D           

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  B/;7<7;C;B63'B/B3@3?C7@3AB6/BAC16B@/D3:3@A=0B/7</<35/B7D3#* B3AB

E7B67< 6=C@A>@7=@B=/@@7D/:7<"3E,=@9/<2B63<?C/@/<B7<3C>=</@@7D/:7<B63'B/B34=@/

;7<7;C;=4B6@332/GA034=@3A3397<5/<2=0B/7<7<5/</227B7=</:#* B3AB (3AB@3AC:BA

/@3<=B7;;327/B3:G/D/7:/0:3A=B67A@3?C7@3A/B:3/AB/4=C@2/G?C/@/<B7<3>3@7=24=@B@/D3:3@A

4@=;::7<=7AB="3E,=@9

        (67A=C@BKA>@=B=1=:A4=@=CB=4AB/B3E7B<3AA3A/@31=<A7AB3<BE7B6"3E,=@9'B/B3:/E

(63=C@B6/A/28=C@<327<>3@A=</>>3/@/<13AC<B7:30@C/@G               031/CA3=4#*

# & )'%#'$# $ #&'$# %&($#'  !'              /<      +63< 7<>3@A=<

>@=13327<5A/@3@3AC;32B63=C@BKA>@=B=1=:4=@2=;3AB71B@/D3:3@A@3?C7@3A/ 2/G?C/@/<B7<3

C<:3AAB63>3@A=<B3ABA<35/B7D34=@#* E7B67<B6@332/GA 6=C@A=423>/@BC@3"


                                                    
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B/93A/<=B63@#* B3AB/<2B3ABA<35/B7D3=<2/G /4B3@/@@7D/: &$($$!$& $"'(

&*!&'#44713=4B637AB@71B=C@BF31CB7D3"=D               (67A34431B7D3:G@3?C7@3A/A7F

2/G?C/@/<B7<30/A32=</B:3/AB/=<32/G23:/G7<=0B/7<7<5B3AB@3AC:BA

        ::7<=7A @31=;;3<2A /     2/G ?C/@/<B7<3 4=@ >3@A=<A @3BC@<7<5 4@=; "3E ,=@9 &*!

    )#   3>B =4 $C0:71 3/:B6                     

 :/ABD7A7B3230@C/@G         (6CAB=/>>3/@034=@3/@/<2C@G7<"3E,=@97BG

/<21=;>:GE7B6"3E,=@9'B/B3:/EB67A=C@BKA>@=B=1=:A/<2::7<=7AKAB/B35C72/<13!=D/<B

&750GE=C:26/D3B=

             • 'C0;7BB=/#*B3ABE7B67< 6=C@A=423>/@B7<54=@"3E,=@9

             • (@/D3: B= "3E ,=@9 /<2 /@@7D3 /B :3/AB  2/GA 7< /2D/<13 =4 67A @/<2 C@G

                 B3AB7;=<G

             • %C/@/<B7<3A=;3E63@37<"3E,=@97BG

             • #< B63 474B6 2/G /4B3@ /@@7D/: 47<2 / B3AB7<5 13<B3@ /<2 AC0;7B B= /< /227B7=</:

                 #*B3AB034=@3/E/7B7<5@3AC:BA=D3@B634=::=E7<5BE=2/GA

             • >>3/@034=@3B63@/<2C@G

             • (@/D3:0/19B=::7<=7A

             • %C/@/<B7<34=@/</227B7=</:BE=E339A/B6=;3B=1=;>:GE7B6::7<=7AK5C72/<13

                 /<24=@B637@4/;7:73AK/<2B63>C0:71KAA/43BG

+3@3A>31B4C::GAC0;7BB6/BB67A7A=D3@:G0C@23<A=;3C<23@B6317@1C;AB/<13A>@3A3<B32'33

53<3@/::G #& &# )&,((&'          2          AB7@  /447@;7<57AB@71B=C@BKA

0@=/2 AC>3@D7A=@G >=E3@ C<23@ &C:3  /<2 /447@;7<5 2317A7=< B= ?C/A6 IAC0>=3</ E6=A3

3<4=@13;3<B/BB63>/@B71C:/@;=;3<BA33;32B=-B637AB@71B=C@B.:793:GB=3<B/7:1=<A3?C3<13A




                                                       
        Case 1:19-cr-00366-LGS Document 172 Filed 02/24/21 Page 14 of 14




;=@3A3@7=CAB6/<3D3<A3D3@37<1=<D3<73<13A=11/A7=<320G7@@3:3D/<B=@=D3@0@=/2@3?C3ABA4=@

@31=@2AJ

       11=@27<5:G!=D/<B&750G@3?C3ABAB6/BB63=C@B37B63@

               /=@23@B6/B/<G@/<2C@GB3AB7;=<G03B/93<@3;=B3:G0GD723=H=@7<::7<=7A

       HA=B6/B!@&750G2=3A<=B6/D3B=B@/D3:B="3E,=@97BG7<B63;72AB=4B63>/<23;71

       E7B6/::B63@3:/B32?C/@/<B7<3@3AB@71B7=<A<313AA7B/B320GAC16B@/D3:=@

               0?C/A6B63@/<2C@GAC0>=3</C<B7:AC16B7;3/AB@/D3:B=/<24@=;"3E,=@9

       7AA/43/<22=3A<=B3<B/7:B63BG>3A=4?C/@/<B7<3/<2=B63@@3AB@71B7=<A@317B32/0=D3

               

                                            

       =@B63@3/A=<AA3B4=@B6/0=D3!=D/<B&/<2/::&750G@3?C3ABAB6/BB63=C@B3<B3@/<

#@23@27@31B7<537B63@/B6/BB63@/<2C@GB3AB7;=<G=4!@&750G03B/93<@3;=B3:G0GD723=

=@7<::7<=7A=@0?C/A6B63@/<2C@GAC0>=3</C<B7:AC16B7;3/AB@/D3:B=/<24@=;"3E,=@9

7AA/43/<22=3A<=B3<B/7:?C/@/<B7<3A/<2@3>3/B32;3271/:B3AB7<5/A23A1@703263@37<

                                              &3A>31B4C::GAC0;7BB32

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                                      '((+,#  
                                      BB=@<3G4=@(67@2$/@BG!=D/<B&/<2/::&750G


!/BB63E'&G/<
(3@3<13/;>03::%&$%%!($##%&$''
=BA7@7:=A(7563'B@37193@$=C:=A/;>03::
   "3/@0=@<'B'C7B3
671/5=::7<=7A 
(3:          
;@G/<1=BA7@7:=A:/E1=;
B1/;>03::1=BA7@7:=A:/E1=;





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